                                     Exhibit 1

                                 Proposed Order




13-53846-tjt   Doc 6982-2   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 1 of 3
                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

                                                  )
In re                                             ) Chapter 9
                                                  )
CITY OF DETROIT, MICHIGAN,                        ) Case No. 13-53846
                                                  )
                           Debtor.                ) Hon. Steven W. Rhodes
                                                  )

  ORDER GRANTING MOTION IN LIMINE BARRING THE CITY AND
 PLAN SUPPORTERS FROM INTRODUCING EVIDENCE REGARDING
     THE POTENTIAL PERSONAL HARDSHIP OF PENSIONERS

        This matter having come before the Court on Syncora’s Motion in Limine

Barring the City and Plan Supporters from Introducing Evidence Regarding the

Potential Personal Hardship of Pensioners (the “Motion”), the Court having

reviewed Syncora’s Motion, and the Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted

herein;

        IT IS HEREBY ORDERED THAT:

        1.     Syncora’s Motion is GRANTED.

        2.     The City and Plan Supporters are barred from introducing evidence

regarding the potential hardship of pensioners.

        3.     Syncora is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.




13-53846-tjt    Doc 6982-2   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 2 of 3
      4.       The terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.

      5.       The Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

      IT IS SO ORDERED.




                                           2
13-53846-tjt    Doc 6982-2    Filed 08/22/14   Entered 08/22/14 16:24:26   Page 3 of 3
